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 Attorneys for Plaintiffs, Fluent Home LTD
 Fluent Home LLC

                      IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF UTAH, CENTRAL DIVISION

 FLUENT HOME LTD, a Canadian                     COMPLAINT
 corporation, and FLUENT HOME, LLC, a
 Delaware limited liability company,             AND

        Plaintiffs,                              DEMAND FOR JURY TRIAL
 v.

 JACK ELBAUM,
 an individual, CHAD BINGHAM, an
 individual                                      Case No.: 2:18-cv-00570

        Defendants.                              Honorable Paul M. Warner


       Plaintiffs Fluent Home Ltd. and Fluent Home, LLC. (collectively “Plaintiffs” or “Fluent

Home”) through counsel MCNEILL VON MAACK, allege and complain against Jack Elbaum

(“Elbaum”) and Chad Bingham (“Bingham”)(collectively, “Defendants”) as follows:

                                          PARTIES

       1.     Plaintiff Fluent Home Ltd. is a Canadian corporation with its principal place of

business at 7319 1004th Street, Edmonton, AB T6E4B9.
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        2.      Plaintiff Fluent Home, LLC is a Delaware limited liability company having its

principal place of business at 3400 North 1200 West, Lehi, Utah 84043.

        3.      Defendant Jack Elbaum is an individual, who, upon information and belief,

resides in Collin County, Texas.

        4.      Defendant Chad Bingham is an individual, who, upon information and belief,

resides in Salt Lake County, Utah.

                                 JURISDICTION AND VENUE

        5.      This Court has jurisdiction pursuant to 28 U.S.C. § 1331 because this action

involves violations of the Defend Trade Secret Act, 18 U.S.C. § 1832. Further, this Court has

jurisdiction over Plaintiffs’ related state law claims under 28 U.S.C. § 1367.

        6.      This Court has personal jurisdiction over Defendants because they committed

tortious acts in this District, much of the conduct alleged occurred in this District while they

were employed and resided in this District, they have directed infringing conduct into this

District, and has otherwise established jurisdictionally sufficient contacts within this District.

        7.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2)-(3) because

Defendants’ contacts with Utah are sufficient to create personal jurisdiction over Defendants in

Utah and because a substantial part of the events giving rise to the claims in this action occurred

within this District.

                                   FACTUAL ALLEGATIONS

A.      Fluent Home Has Detailed Policies Designed To Protect Its Proprietary
        Information, Confidential Information, And Trade Secret Information+ From
        Becoming Known To The Public.




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       8.      In or about December 2010, Fluent Home entered into a Master Services

Agreement (“MSA”) with NPEC, LLC (“NPEC”) to provide it with various consulting,

management and related services.

       9.      NPEC was solely owned by Elbaum.

       10.     Pursuant to the MSA, NPEC agreed to keep confidential all of Fluent Home’s

proprietary, confidential and trade secret information.

       11.     Fluent Home uses numerous security provisions to protect to its proprietary

information, confidential information, and trade secrets. For example, Fluent Home’s facilities

use key card access protection. Further, Fluent Home’s databases, networks, repositories, and

servers are password protected and Fluent Home only granted access to those representatives

who were on a need to know basis. Fluent Home also protects the documents located on its

systems by active directory policies and permissions.

       12.     In addition, Fluent Home required NPEC to ensure NPEC’s own employees were

subject to confidentiality obligations to ensure Fluent Home information accessed by NPEC

employees were kept confidential.

       13.     To that end, all individuals who helped Fluent Home develop its technology was

required to execute confidentiality agreements and to acknowledge their willingness to adhere to

a code of employee conduct as set forth in a NPEC Handbook. Further, Fluent Home takes

reasonable efforts to mark its proprietary information with its corresponding level of

confidentiality.

       14.     Specific to this instance, upon execution of the NPEC Handbook, NPEC

employees who worked on developing Fluent Home technology agreed that:



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       Employee acknowledges, understands and agrees that during the course of
       Employee’s employment with NPEC, LLC, employee will acquire or have access
       to confidential and proprietary information of or about NPEC, LLC and its clients.
       Employee acknowledges, understands and agrees that this information is
       confidential and proprietary and shall not be revealed to anyone for any purpose or
       reason unless legally required to be. Employee agrees that revealing this
       confidential and/or proprietary information would cause substantial damages to
       NPEC, LLC and its clients. This proprietary information includes but is not limited
       to emails, documents, computer generated documents, computer programs, etc.
       Employee understands that if he/she were to use this proprietary and/or confidential
       information in any manner other than an authorized use, that it will cause the
       Company extreme damage and the Company reserves the right to take any and all
       necessary legal action to prevent said use and/or to seek remedies for said use once
       it occurs including but not limited to injunctive relief, without bond, a restraining
       order, damages, etc. to address a violation of this provision.

       15.     Fluent Home also uses and executes non-disclosure agreements with other entities

and individuals that it collaborates with to protect its proprietary information, confidential

information, and trade secrets.

       16.     Fluent Home further informs its partners of the secret nature of its products and

information, as well as the duty to maintain that proprietary information as secret.

       17.     Fluent Home had its employees receive, review and execute Employment

Handbook supplements, which specifically provided for confidentiality and intellectual property

obligations, including the obligation that the employees agree to keep Fluent Home information

and technology confidential, not to be revealed to others.

               B.      Fluent Home Seeks To Research, Develop, Manufacture, Install, and
                       Service State-Of-The-Art Security Systems And Retains Jack Elbaum
                       To Further This Goal.

       18.     Fluent Home’s corporate mission seeks to save lives and improve life quality

through home automation. Fluent Home seeks to fulfill its mission primarily through




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developing, installing, and servicing state-of-the-art security, technology, energy management,

convenience and mobile applications for the home.

       19.     As President of NPEC, Elbaum was entrusted with a position of confidence and

trust with Fluent Home. To that end, Elbaum assisted in building Fluent Home’s back office

support. Elbaum was also responsible for customizing the back office support system and

compiling a Fluent Home back office support team. Elbaum also built and controlled access to

Fluent Home’s repositories, databases, and servers. Elbaum eventually became a shareholder in

Fluent Home Ltd and an officer of Fluent Home LLC.

       20.     At all times Elbaum worked with Fluent Home, he agreed to keep Fluent Home’s

proprietary information, confidential information, and trade secrets confidential and refrain from

use of or further disclosure of Fluent Home’s secret information.

       21.     In late 2011, Elbaum’s work for Fluent Home included conceiving of the new

state-of-the-art home security system called “Gabriel.” Fluent Home has always maintained the

secrecy of Gabriel, treating Gabriel as confidential and trade secret information of Fluent Home.

       22.     The Gabriel home security system and panel is a complex system that has

hardware and software components, engineering, coding and related information that required

significant funding, research and development. The researched and developed hardware and

software components are valuable, not publicly known and Fluent Home derives benefits from

them not being known to the public or the security industry.

       23.     This research and development was conducted by Fluent Home’s employees and

consulting team and funded by Fluent Home. Fluent Home’s investment in the Gabriel home




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security system and panel has been significant with Fluent Home expending almost $2 million in

costs for research and development of Gabriel.

       24.     At all times, Fluent Home has employed adequate security measures to protect the

secrecy of both the hardware and the software researched and developed for the Gabriel home

security system and panel, including the use of restricted key card access, siloe systems and

databases that are password protected, active directory policies and permissions, and the marking

of proprietary information.

       25.     Elbaum acted as a team leader for Fluent Home in the research and development

of the Gabriel home security system and panel. His extensive work on the Gabriel home security

system and panel provided him with specific knowledge and access to all the plans,

specifications, business and engineering information related to the Gabriel home security system

and panel, including plans, program devices, formulas, designs, prototypes, methods, techniques,

processes, procedures, programs, and codes of the Gabriel home security system.

       26.     Elbaum knew that the proprietary information and confidential information of

Gabriel were a result of substantial development and investment, were secret, had substantial

economic value, and that he had a duty to maintain the secrecy and confidentiality of the Gabriel

home security system and panel.

               C.     As Fluent Home’s Research and Development Manager, Chad
                      Bingham Gains Access to Fluent Home’s Confidential and Trade
                      Secret Information.

       27.     On or about February 25, 2015, Bingham agreed to Fluent Home’s written offer

to become Fluent Home’s Research and Development Manager.




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        28.     In such role, he was given access to and responsibilities concerning Fluent

Home’s confidential and trade secret information, including without limitation Fluent Home’s

developer and consulting team, software and hardware, product development, features and

functionality, performance and research results, and offsite vendors and development teams.

        29.     In accepting his position with Fluent Home, and on February 25, 2015, Bingham

entered into and an agreement wherein he agreed that he would not divulge or disclose any

confidential information he acquired or accessed from Fluent Homes.

        30.     In addition, on or about March 2, 2015, Bingham received, reviewed, and

executed a copy of Fluent Home’s Employee Handbook. In doing so, he specifically

acknowledged and agreed that he would acquire and access confidential and trade secret

information, that he would keep such information confidential and not disclose it to any third

party, and that any disclosure by him would cause Fluent Home substantial damages that would

entitled them to injunctive relief.

        31.     The February 25, 2015 agreement and March 2, 2015 agreements are collectively

referred to as the “Bingham Non-Disclosure Agreements.”

        32.     In addition to the obligations of the Bingham Non-Disclosure Agreements,

Bingham held a special position of trust and confidence with Fluent Home serving as its

Research and Development Manager, which position specifically contemplated Bingham being

entrusted with special access and knowledge regarding Fluent Home’s confidential and trade

secret information in return for his promise to keep such information strictly confidential.




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       33.     In the course of his employment as the Fluent Home’s Research and Development

Manager, Bingham was entrusted with assisting Fluent Home and Elbuam in developing the

Gabriel home security system and panel identified above.

       34.     At all times relevant, Bingham knew and understood that Gabriel, and all the

information he learned, accessed, maintained, and developed concerning Gabriel, belonged to

Fluent Home, and constituted Fluent Home’s confidential and trade secret information.

       35.     At all times relevant, Bingham knew and understood that he was forbidden from

disclosing Gabriel to third-parties.

               D.      Elbaum Departs From Fluent Home And Takes Fluent Home’s
                       Confidential and Trade Secret Information.

       36.     In or about January 2015, Elbaum and NPEC’s relationship with Fluent Home

was terminated.

       37.     In connection with the termination of their relationship, and on June 30, 2015, the

parties entered into a written Agreement providing for, among other things, the formal

cancellation of Elbaum’s shares in Fluent Home, the written termination of the MSA with NPEC,

Elbaum’s formal resignation of all positions held with Fluent Homes, several restrictive

covenants, and various representations and warranties in favor of Fluent Home (“Departure

Agreement”).

       38.     In the Departure Agreement, Elbaum represented and warranted to Fluent Home

that Fluent Home owned all rights and interest in the Gabriel home security system and panel,

and that Elbaum disclaimed having any rights or interest in any past, present or future value

generated by or in Gabriel.




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       39.     Elbaum further agreed that Elbaum would have no interest or claim in Fluent

Home’s assets or other interests.

       40.     As of the date of the Departure Agreement, the Gabriel home security system and

panel was nearly complete, and therefore of great value to Fluent Home.

               E.      Bingham Leaves Fluent Home, Taking Fluent Home Confidential and
                       Trade Secret Information.

       41.     On or about March 19, 2015, Bingham resigned from Fluent Home, and began

working directly with Elbaum.

       42.     Upon information and belief, Bingham quit Fluent Home having already agreed

and conspired with Elbaum to work together to take secret possession of Fluent Home’s Gabriel

home security system and panel, and to unlawfully try and sell it to Fluent Home’s competitors.

               F.      Elbaum and Bingham Are Improperly Attempting To Sell Fluent
                       Home’s Gabriel Security System As Their Own To Competitors.

       43.     After their relationship with Fluent Home was terminated, Elbaum and Bingham

went on to unlawfully access and maintain Fluent Home’s proprietary, confidential, and trade

secret information, including the confidential and trade secret information related to the Gabriel

home security system and panel.

       44.     Elbaum and Bingham knew at all times they were forbidden from accessing or

storing such information, and took steps to actively conceal the fact that they had taken and were

maintaining Fluent Home’s proprietary, confidential and trade secret information.

       45.     In or about April 2018, Elbaum and Bingham attended the ISC West conference

held in Las Vegas, Nevada.




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         46.   While at ISC West, Elbaum and Bingham contacted Michael Casperson of

Crorzar. Crozar provides consumers with home security products, such as motion sensors and

smart door contacts.

         47.   During such time, Casperson was looking to acquire a home security system and

panel.

         48.   Elbaum and Bingham falsely represented to Casperson that they owned a security

system and panel that they wanted to sell to Casperson. Elbaum represented to Casperson that

the home security system and panel that he owned was “95% complete.”

         49.   At all times, the home security system and panel that Elbaum and Bingham

sought to sell to Casperson was Fluent Home’s Gabriel home security system and panel.

         50.   Not knowing about Fluent Home’s ownership of Gabriel, Casperson agreed to

meet with Elbaum and Bingham about Gabriel. At such meeting, Elbaum and Bingham brought

a laptop, and began showing Casperson on the laptop screen certain of the files and images of the

engineering drawings related to Gabriel, and reiterated to Casperson that they owned and desired

to sell Gabriel to him.

         51.   Casperson noticed, however, that some of the pictures and images appeared to say

“Fluent” on it; Casperson became concerned that the system Elbaum and Bingham were

attempting to sell him was not their property, but rather Fluent’s property.

         52.   Suspicious, Casperson reached out to Fluent Home. Casperson’s conversation

with Fluent Home confirmed Casperson’s concerns – that the system that Elbaum and Bingham

were actively trying to sell Casperson was Fluent Home’s Gabriel home security system and

panel; and that the files, drawings and engineering that Elbaum and Bingham were disclosing to



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Casperson included confidential and trade secret information owned by, and stolen from, Fluent

Home.

        53.    Elbaum and Bingham currently and unlawfully maintain on Elbaum’s laptop

and/or Bingham’s laptop, and/or in other locations or other electronic devices, certain personal

and valuable property including the confidential and trade secret information and files related to

Gabriel, and potentially other proprietary information that belongs to Fluent Home.

        54.    Elbaum and Bingham have no legal right or ownership of Fluent Home’s

property, including the Gabriel home security system and panel and all files related thereto.

        55.    Elbaum and Bingham know that they have no legal right to sell the Gabriel home

security system and panel, that they had a duty to maintain the secrecy of the Gabriel home

security system and panel, and that they had unlawfully obtained the property, proprietary

information, confidential information, and trade secrets of Gabriel.

        56.    Elbaum and Bingham has not paid Fluent Home for the property that belongs to it

that Elbaum and Bingham unlawfully possess. Elbaum and Bingham used their position of trust

and confidence to access and steal such property, information and files, and now seeks to profit

therefrom.

        57.    The property belonging to Fluent Home—that Elbaum and Bingham unlawfully

possess—is valuable.

        58.    Elbaum and Bingham’s unlawful possession of Fluent Home’s property, including

the confidential and trade secret information related to Gabriel, poses a substantial ongoing risk

of harm to Fluent Home, including that Elbaum or Bingham may convey it to third parties such




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as Fluent Home competitors or other third parties who may benefit from Fluent Home’s

property, including the Gabriel home security system and panel.

                                   FIRST CAUSE OF ACTION
             (Misappropriation of Trade Secrets under Utah Uniform Trade Secrets Act,
                             U.C.A. § 13-24-2 - against All Defendants)

       59.     Fluent Home hereby incorporates by reference the allegations contained in the

above paragraphs.

       60.     Fluent Home owns proprietary information, confidential information, and trade

secrets of the Gabriel home security system and panel that provides Fluent Home with a

commercial advantage because it is not generally known in the industry in which Fluent Home

does business, nor is it readily ascertainable by proper means.

       61.     Fluent Home’s proprietary information, confidential information and trade secrets

of the Gabriel home security system and panel includes, but is not limited to, plans, program

devices, formulas, designs, prototypes, methods, techniques, processes, procedures, programs,

and codes of the Gabriel home security system and panel. This information was developed only

after Fluent Home expended substantial cost and effort over a period of years.

       62.     Fluent Home has a protectable interest in the Gabriel home security system and

panel’s proprietary information, confidential information, and trade secrets.

       63.     Fluent Home has taken reasonable steps to protect the Gabriel home security

system and panel’s proprietary information, confidential information, and trade secrets, including

without limitation, the use of restricted key card access, siloe systems and databases that are

password protected and limited to Fluent Employees actively working on Gabriel, active

directory policies and permissions, and the marking of proprietary information of Gabriel.



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        64.     Elbaum and Bingham knew or had reason to know that the Gabriel home security

system and panel’s proprietary information, confidential information, and trade secrets are

protected. Further, Elbaum and Bingham knew or had reason to know that the Gabriel home

security system and panel’s proprietary information, confidential information, and trade secrets

were communicated to him under an express duty not to disclose or use the information.

        65.     Elbaum and Bingham, upon their departure from Fluent Home, used improper

means to appropriate the Gabriel home security system and panel’s proprietary information,

confidential information, and trade secrets for their own use and benefit. Indeed, Elbaum and

Bingham are currently and actively disclosing the Gabriel home security system and panel and

related files and specifications, to the security industry by improperly attempting to sell Gabriel.

The most recently known act of misappropriate occurred in or about April 2018.

        66.     As a direct and proximate result of the wrongful conduct of Elbaum and Bingham,

Fluent Home has suffered, and continues to suffer, damages in an amount that is not now

presently ascertainable, but will be established at trial.

        67.     The misappropriation of the Gabriel home security system and panel’s proprietary

information, confidential information, and trade secrets was willful and malicious, entitling

Fluent Home to double exemplary damages and reasonable attorneys’ fees.

        68.     Defendants will continue acts of misappropriation and Fluent Home will be

irreparably harmed thereby unless such activities are enjoined by this Court.

                                  SECOND CAUSE OF ACTION
              (Violation of Federal Defend Trade Secret Act – Against All Defendants)

        69.     Fluent Home hereby incorporates by reference the allegations contained in the

above paragraphs.


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       70.     The actions of Defendants as described above constitutes violations of one or

more provisions of the Defend Trade Secret Act of 2016 (“DTSA”), 18 U.S.C. § 1863.

       71.     The DTSA provides in relevant part:

       An owner of a trade secret that is misappropriated may bring a civil action under
       the subsection if the trade secret is related to a product or service used in, or
       intended for use in, interstate foreign commerce.
       18 U.S.C. § 1836(b)(3)(A).

       72.     The DTSA provides that “a court may grant an injunction – to prevent any actual

or threatened misappropriation described in paragraph (1) on such terms as the court deems

reasonable . . .” 18 U.S.C. § 1836(b)(3)(A).

       73.     By engaging in the conduct described above, Defendants have intentionally,

willfully and maliciously misappropriated, threatened to misappropriate, misused, revealed and

disclosed trade secrets and confidential and proprietary information or knowledge of Fluent

Home, and will continue to do so, in violation of the confidential relationship between Elbaum

and Bingham with Fluent Home. Specifically, Defendants have intentionally, willfully and

maliciously misappropriated, threatened to misappropriate, misused, revealed and disclosed trade

secrets and confidential and proprietary information and knowledge of Fluent Home’s Gabriel

home security system and panel.

       74.     Fluent Home’s proprietary information, confidential information and trade secrets

of the Gabriel home security system and panel includes, but is not limited to, plans, program

devices, formulas, designs, prototypes, methods, techniques, processes, procedures, programs,

and codes of the Gabriel home security system and panel. This information was developed only

after Fluent Home expended substantial cost and effort over a period of years.




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        75.    Fluent Home has a protectable interest in the Gabriel home security system and

panel’s proprietary information, confidential information, and trade secrets pursuant to the

DTSA.

        76.    Fluent Home has taken reasonable steps to protect the Gabriel home security

system and panel’s proprietary information, confidential information, and trade secrets, including

without limitation, the use of restricted key card access, siloe systems and databases that are

password protected and limited to Fluent Employees actively working on Gabriel, active

directory policies and permissions, and the marking of proprietary information of Gabriel.

        77.    Fluent Home intends the Gabriel home security system and panel for use in

interstate or foreign commerce.

        78.    Defendants knew or had reason to know that the Gabriel home security system

and panel’s proprietary information, confidential information, and trade secrets are protected.

Further, Defendants knew or had reason to know that the Gabriel home security system and

panel’s proprietary information, confidential information, and trade secrets were communicated

to Defendants under an express duty not to disclose or use the information.

        79.    Defendants, upon departure from Fluent Home, used improper means to

appropriate the Gabriel home security system and panel’s proprietary information, confidential

information, and trade secrets for their own use and benefit.

        80.    Defendants are actively disclosing the Gabriel Home security system and panel,

including all confidential and trade secret components thereof, to the security industry by

improperly attempting to unlawfully disclose and sell Gabriel.




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        81.     As a direct and proximate result of the wrongful conduct of Defendants, Fluent

Home has suffered, and continues to suffer, damages in an amount that is not now presently

ascertainable, but will be established at trial.

        82.     The misappropriation by Defendants of the Gabriel home security system and

panel’s proprietary information, confidential information, and trade secrets was willful and

malicious, entitling Fluent Home to double exemplary damages and reasonable attorneys’ fees.

        83.     Defendants will continue their acts of misappropriation and Fluent Home will be

irreparably harmed thereby unless such activities are enjoined by this Court.

                                     THIRD CAUSE OF ACTION
                              (Breach of Contract – against Elbaum)

        84.     Fluent Home hereby incorporates by reference the allegations contained in the

above paragraphs.

        85.     The Elbaum Departure Agreement is a valid and enforceable contract between

Fluent Home and Elbaum.

        86.     Fluent Home fully performed their obligations under the Elbaum Departure

Agreement.

        87.     Elbaum had agreed pursuant to the Elbaum Departure Agreement that Fluent

Home owned all rights related to Gabriel and that Elbaum had no rights to Gabriel and no right

to claim the value of Fluent Home’s assets or interests.

        88.     Elbaum materially breached the Elbaum Departure Agreement by holding himself

out as the owner of Gabriel and seeking to profit therefrom.




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        89.     Elbaum’s breach directly and proximately caused Fluent Home to suffer damages,

and continues to suffer, damages in an amount that is not now presently ascertainable, but will be

established at trial.

        90.     Pursuant to the Agreement, Elbaum is obligated to pay Fluent Home for all costs,

expenses and damages resulting from such breach, including attorney fees, in an amount to be

determined.

                             FOURTH CAUSE OF ACTION
    (Breach of the Implied Covenant of Good Faith and Fair Dealing - against Elbaum)

        91.     Fluent Home hereby incorporates by reference the allegations contained in the

above paragraphs.

        92.     The Elbaum Departure Agreement is a valid and enforceable contract between

Fluent Home and Elbaum.

        93.     Fluent Home fully performed their obligations under the Elbaum Departure

Agreement.

        94.     The Elbaum Departure Agreement included an implied covenant by Elbaum to

deal fairly and in good faith in a manner consistent with the agreed common purpose and

justified expectations of Fluent Home.

        95.     Implicit in Elbaum’s agreement that he had no right or interest in Gabriel was the

obligation not to try and monetize Gabriel to third parties to the detriment of Fluent Home.

        96.     Elbaum materially breached the implied covenant of good faith and fair dealing

by frustrating Fluent Home’s ability to protect its Gabriel home security system and panel, as

well as controlling the sale and offer for sale of the Gabriel home security system and panel.




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        97.     As a direct and proximate result of Elbaum’s breach of the implied covenant of

good faith and fair dealing, Fluent Home has suffered damages, and continues to suffer, damages

in an amount that is not now presently ascertainable, but will be established at trial.

                                      FIFTH CAUSE OF ACTION
                              (Breach of Contract – against Bingham)

        98.     Fluent Home hereby incorporates by reference the allegations contained in the

above paragraphs.

        99.     The Bingham Non-Disclosure Agreements are valid and enforceable contracts

between Fluent Home and Bingham.

        100.    Fluent Home fully performed their obligations under the Bingham Non-

Disclosure Agreements.

        101.    Bingham had agreed pursuant to the Bingham Non-Disclosure Agreements to

keep Fluent Home confidential information, including the information related to the Gabriel

system, as confidential, and not to misappropriate it or disclose it to third-parties.

        102.    Bingham materially breached the Bingham Non-Disclosure Agreements by, after

resigning from Fluent Homes, taking, accessing, maintaining, and disclosing Fluent Home’s

confidential and trade secret information; and, by holding himself or Elbaum out as the owner of

Gabriel and seeking to sell and profit therefrom.

        103.    Bingham’s breach directly and proximately caused Fluent Home to suffer

damages, and continues to suffer, damages in an amount that is not now presently ascertainable,

but will be established at trial.




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       104.    Pursuant to the Bingham Non-Disclosure Agreement, Bingham is obligated to pay

Fluent Home for all costs, expenses and damages resulting from such breach, including attorney

fees, in an amount to be determined.

                             SIXTH CAUSE OF ACTION
   (Breach of the Implied Covenant of Good Faith and Fair Dealing - against Bingham)

       105.    Fluent Home hereby incorporates by reference the allegations contained in the

above paragraphs.

       106.    The Bingham Non-Disclosure Agreement is a valid and enforceable contract

between Fluent Home and Bingham.

       107.    Fluent Home fully performed their obligations under the Bingham Non-

Disclosure Agreement.

       108.    The Bingham Non-Disclosure Agreement includes an implied covenant by

Bingham to deal fairly and in good faith in a manner consistent with the agreed common purpose

and justified expectations of Fluent Home.

       109.    Implicit in Bingham’s agreement was the obligation not to try and monetize

Gabriel to third-parties to the detriment of Fluent Home.

       110.    Gabriel materially breached the implied covenant of good faith and fair dealing by

frustrating Fluent Home’s ability to protect its Gabriel home security system and panel, as well

as controlling the sale and offer for sale of the Gabriel home security system and panel.

       111.    As a direct and proximate result of Bingham breach of the implied covenant of

good faith and fair dealing, Fluent Home has suffered damages, and continues to suffer, damages

in an amount that is not now presently ascertainable, but will be established at trial.




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                                  SEVENTH CAUSE OF ACTION
                             (Conversion – Against All Defendants)

         112.   Fluent Home hereby incorporates by reference the allegations contained in the

above paragraphs.

         113.   Defendants have willfully interfered with chattel belonging to Fluent Home,

specifically the Gabriel home security system and panel and all information related thereto that

does not constitute trade secret information and the personal property of Fluent Homes that does

not constitute trade secret information of which Fluent Home has full legal and beneficial

ownership.

         114.   Defendants’ interference was without lawful justification, and deprived Fluent

Home of the exclusive use, possession, and/or control of the Gabriel home security system and

panel.

         115.   As a direct and proximate cause of the conversion, Fluent Home has been

damaged in an amount to be proven at trial, along with pre- and post-verdict interest, costs and

attorney’s fees.

         116.   Defendants’ conduct is willful and malicious or intentionally fraudulent conduct,

or conduct that manifests a knowing and reckless indifference toward, and disregard of, the

rights of Fluent Home, entitling Fluent Home to an award of punitive damages against

Defendants under Utah Code Ann. § 78B-8-201.

                                   EIGHTH CAUSE OF ACTION
                          (Civil Conspiracy - Against All Defendants)

         117.   Fluent Home hereby incorporates by reference the allegations contained in the

above paragraphs.



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       118.      Defendants have conspired and worked together, reaching a meeting of the minds

to accomplish the unlawful objective of secretly stealing and reselling to Fluent Home’s

competitors, the personal property of Fluent Homes that does not constitute trade secret

information, and have carried out attempts to do so.

       119.      As a direct and proximate cause of the conspiracy, Fluent Home has been

damaged in an amount to be proven at trial, along with pre- and post-verdict interest, costs and

attorney’s fees.

                                    NINTH CAUSE OF ACTION
                      (Unjust Enrichment, in the alternative – against Defendants)

       120.      Fluent Home hereby incorporates by reference the allegations contained in the

above paragraphs.

       121.      Fluent Home conferred benefits on Elbaum and Bingham in the form of the use of

Gabriel home security system and panel.

       122.      Elbaum and Bingham have an appreciation and knowledge of the benefit, and

they continue to retain such benefits.

       123.      Their retention of such benefits is inequitable without paying Fluent Home for the

value thereof.

       124.      Fluent Home is entitled to recover from Defendants damages which exceed

75,000.00, and which will be established at trial.




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                                     PRAYER FOR RELIEF

       WHEREFORE, Fluent Home respectfully requests the Court enter judgment against

Elbaum and Bingham as follows:

       1.      Judgment in favor of Fluent Home and against Elbaum and Bingham on each

cause of action as requested;

       2.      Elbaum and Bingham pay Fluent Home enhanced damages for willful and

malicious misappropriation of Fluent Home’s trade secrets;

       3.      Permanently enjoin Elbaum and Bingham from manufacturing, copying, offering

for sale, or selling any home security system and panel that is substantially identical to the

Gabriel home security system and panel;

       4.      That Elbaum and Bingham pay damages suffered by Fluent Home as a result of

their foregoing acts in an amount to be proven at trial, but to exceed $75,000.00;

       5.      Award punitive damages against Elbaum and Bingham under Utah Code Ann. §

78B-8-201;

       6.      Award Fluent Home attorney fees and costs;

       7.      Award Fluent Home pre- and post-judgment interest on any monetary award

made part of the judgment against Defendants; and

       8.      Grant to Fluent Home such other and further relief as the Court may deem just,

proper, and equitable under the circumstances.

                                 DEMAND FOR JURY TRIAL

       Fluent Home demands a trial by jury on all matters herein so triable.




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DATED this 17th day of July 2018.

                                    MCNEILL | VON MAACK


                                    Jason A. McNeill
                                    Brian E. Lahti
                                    Attorneys for Plaintiffs, Fluent Home LTD
                                    Fluent Home LLC




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